 

 

ECGEIVE

UNITED STATES DISTRICT COURT

 

 

  

 

 

 

 

 

EASTERN DISTRICT OF NEW YORK
x
FEB 23 2015
ENRIQUE RAMOS DIN#13A2936
Full name of plaintiff/prisoner ID# p R O S E 0 FE EF C E
Plaintiff, JURY TRIAL DEMAND
YES_-<« NO :

-against-
CITY OF NEW YORK ,NYPD

POLICE OFFICER MAUREEN ENGLES (SHIFLD #4750)

POLICE OFFICERJOHN DOE (OFFICER ENGELS PARTNFR) _
Enter full names of defendants to
[Make sure those listed above are
identical to those listed in Part I.)

 

Defendants. . . BLOOM : Nde:

I. Previous Lawsuits:
A. Have you begun other lawsuits in state or federal court
dealing with the same facts involved in this action or
otherwise relating to your imprisonment? Yes( ) No(*)
B. If your answer to A is yes, describe each lawsuit in the space below
(If there is more than one lawsuit, describe the additional lawsuits
on another piece of paper, using the same outline.)

1. Parties to this previous lawsuit:

Plaintiffs:

 

 

Defendants:

 

 

2. Court (if federal court, name the district;
if state court, name the county)

 

3. Docket Number:

 

 

eee
roms?
one

r

rs

 

boyy
‘
Vi

i
i
Sy es Bt Ie Bee

.
i!
kes

SR ET mt or Ae oe

we
~
e
pos
tho
;

:
va
ac
r

 

.
yi
;
:
%
‘
ton
a ft
nigel eb eeepc calnmed netseent vain aap nee nape
onan e encenmennrevance sere)
qn
$3c%
we ng FOS NT LI NF eS sesend
‘
AA
i i

 

 

 
 

 

7 “2 > Yooene ; ot
* : r ons n
~ m 7 \ Ahi
* : aS XV > pet es
* , e at on
: ont meee
: . ack
: : . a i) meee
* ~ Ate oes
: : “ey ewe EL
: oy + HL bed a yey, f .
: Le _ -. rege Cum tae : .
Boe Ce QO = Seo .
° cose .
. : ’ Le caveperces memeennnnenerenenned
. ‘ ~ “ . .
. foot a : os
, .. ° ho
” 1 i
. i ~ * .
: : 2 me
tT. - soos
a S : nm <
: Lo = 4 at
= cS . NA a
* : Peal get
. ~ ‘ LS mat
. .* * as oo *
oe f a 4 :
Ls : oS = wo “yet
os : - hs - = *: - oa
* Ae pe

 

 

 

Case 1:15-cv-01081-ARR-LB Document 1 Filed 02/23/15 Page 2 of 6 PagelD #: 2

 
”

4, Name of the Judge to whom case was assigned:

5. Disposition: (for example: Was the case dismissed? Was it
appealed? Is it still pending?)  ~

 

6. Approximate date of filing lawsuit:

 

7. Approximate date of disposition:

 

Place of Present Confinement: GREENE CORRECTIONAL FACTLITY
P.O.ROX 975 COXSACKIF N.Y. 12051
A. Is there a prisoner grievance procedure in this institution? Yes &@4No( )

B. Did you present the facts relating to your complaint in the prisoner
grievance procedure? Yes( ) No(*)

C. If your answer is YES,

1. What steps did you take?

 

 

 

2. What was the result?

 

 

D. If your answer is NO, explain why not The regard concerns an
outside matter,which cannot be resolved by the

 

grievance process.

E. If there is no prison grievance procedure in the institution, did you complain
to prison authorities? Yes( ) No( )

F. If your answer is YES,

1. What steps did you take?

 

 

 

2. What was the result?

 

 
I. _— Pasties:
(In item A below, place your name in the first blank and place your present
address in the second blank. Do the same for additional plaintiffs, if any.)

~

A. Name of plaintiff ENRIQUE RAMOS (DIN#13A2936)

Address_GREENF CORRECTIONAL FACILITY
P.O.BOX 975 COXSACKIF,N.Y.12051

(In item B below, place the full name and address of each defendant)

B. List all defendants’ names and the addresses at which each defendant may be served.
Plaintiff must provide the address for each defendant named.

Defendant No. 1 CITY OF NEW YORK
LAW DEPARTMENT OF N.Y.

 

100 CHURCH STRRET,N.Y.,N.Y¥.10007

 

Defendant No. 2 NEW YORK POLICE DEPARTMENT

1 POLICE PLAZA

 

 

NEW YORK N.Y.10038

 

Defendant No. 3 OFFICER MAURREN ENGELS (SHIFLND#4750)
103rd PRECINCT

 

 

168-02 P.O.ROX FDWARN RYRNE AVENE
JAMATCA NEW YORK 11432

 

Defendant No. 4 OFFICER JOHN DOE (FNGELS PARTNER)
103rd PRECINCT

 

168-02 P.O.ROX FNWARD BYRNE AVENUE

 

JAMAICA NEW YORK 11432

Defendant No. 5

 

 

 

(Make sure that the defendants listed above are identical to those listed in the caption on page 1}.
TV. — Statement of Claim:

(State briefly and concisely, the facts of your case. Include the date(s) of the event(s) alleged as
well as the location where the events occurred. Include the names of each defendant and state
how each person named was involved in the event you are claiming violated your rights. You
need not give any legal arguments or cite to cases or statutes. If you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. You may use additional
8 4 by 11 sheets of paper as necessary.)

Asa result of an illegal search and seizure conducted
at home on 6/20/12,I became the unwitting victim of Assault
and Battery on the part of the responding Officers.Who
acted in an unreasonable and arbitrary way to further the
arrest for an alleged robbery occurred at my home,at 97-09
Remington Street, Jamaica,N.Y.11435.Their claim that the
use of force was implemented because I was resisting arrest,
which sopposedly caused significant pain to the two officers

involved,can in no way be corrohorated by either the Omniform
system arrest report dated 10/1/14,or Officer Fngle's memo-

-book detailing the events involved.

 

 

IV.A If you are claiming injuries as a result of the events you are complaining about,
describe your injuries and state what medical tredtment you required. Was
medical treatment received?

 

Without any prodding,Officer Fngel's and her partner
exited their vehicle and began assaulting me,as part of the
arrest.I sustained mulyiple injuries by way of a broken
nose,bruised eyes,teeth knocked out,bruised lips and face,
along with severe trauma causing me to blackout and lose
conciousness at the scene,until I awoke a day later at

- Jamaica Hospital.

 

a
Vv. Relief:

State what relief you are seeking if you prevail on your complaint.
As a result of the injuries T sustained,T am seeking to

bring this claim against the defedant in’théir'individual

and Official Cancities"for acting with reckless and callous
indifference to my well being,which resutted in the afore-
mentioned injuries,severe mental anquish,and cronic pain, _

by way of compensatory damages in the amount of S2million
dollars,anda punitive damages in the amount of Stmillion “~

 

dollars.All totaling $3million Jollars.

 

_ 7

I declare under penalty of perjury that on Febpy ay Z/ delivered this
(Date)

complaint to prison authorities to be mailed to the United States District Court for the Eastern

District of New York.

Te bhugey
Signed this 3 day of fe , 20.70). I declare under penalty of

perjury that the foregoing is true and correct.

 
   
   

 

     

Di Box 926
Caxsqokie, few otek, 12057

Address

[249936

Prisoner ID#

 
